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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
James Rutherford
                                                 Plaintiff(s)                 EDCV 19-02410-CJC (SHKx)
                             v.
                                                                       ADA DISABILITY ACCESS LITIGATION:
                                                                       ORDER GRANTING APPLICATION FOR
E and I Venture, LLC et al
                                                                                     STAY
                                                Defendant(s)                AND EARLY MEDIATION

The Court has considered the recently filed Application for Stay and Early Mediation, and hereby ORDERS:

1.    This action is STAYED as to E and I Venture, LLC
      for a period of ninety (90) days from the date of the filing of this Order, unless otherwise ordered by the
      Court.
2.    This case is referred to:

             ADR PROCEDURE NO. 1: Magistrate Judge assigned to the case for such settlement proceedings
             as the judge may conduct or direct.
       ✔     ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within twenty-one (21)
             days, plaintiff shall obtain the consent of a Mediator listed on the Court’s Mediation Panel who will
             conduct the mediation, and file form ADR-2, Stipulation Regarding Selection of Mediator. If the
             parties have not selected and obtained the consent of a Panel Mediator within twenty-one (21) days,
             the ADR Program (213-894-2993) will assign one. Forms and a list of the Panel Mediators are
             available on the Court's website, www.cacd.uscourts.gov. Absent extraordinary circumstances,
             parties cannot request a continuance within three (3) business days of a scheduled mediation.
             The ADR proceeding is to be completed no later than: June 4, 2020                                          .

3.    Within fourteen (14) days of the date of this Order, Plaintiff shall file with the Court and serve on
      Defendant(s) a statement (“Plaintiff’s Case Statement”) that includes the following:
      a. An itemized list of specific conditions on the subject premises that are the basis of the claimed
         violations of the ADA; and
      b. An itemized list of damages and, for each item, the amount sought.
4.    If Defendant claims to have remedied any or all of the violation(s) identified by Plaintiff, or asserts that no
      violation exists, that Defendant shall file with the Court and serve on Plaintiff evidence showing the
      correction or absence of violation(s) at least ten (10) days before the date set for the early mediation.
5.    The parties shall file with the Court a Joint Status Report no later than seven (7) days after the ADR
      proceeding is completed advising the Court of the status of the alleged ADA violations and their
      mediation efforts.
 6. This case is placed on the Court's inactive calendar.

Date: March 06, 2020
                                                                United
                                                                  ited States District
                                                                              Disttri
                                                                                   r ct Judge
                                                                Honorable Cormac J. Carney
cc: ADR Program Director

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